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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 5:17-MJ-00051-JLT
11                                                       ___________
                                  Plaintiff,            [PROPOSED] ORDER SEALING DOCUMENTS
12                                                      AS SET FORTH IN GOVERNMENT’S
                            v.                          APPLICATION
13
     BRYSHANIQUE ALLEN,
14
                                 Defendant.
15

16
            Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
17
     Request to Seal, IT IS HEREBY ORDERED that the government’s Complaint, affidavit in support of
18
     the Complaint, and arrest warrant pertaining to defendant BRYSHANIQUE ALLEN, Government’s
19
     Request to Seal, and this Sealing Order shall be SEALED until further order of this Court.
20
            It is further ordered that access to the sealed documents shall be limited to the government and,
21
     upon defendant’s counsel for the defendant.
22

23
      Dated:     12/7/17
24                                                    THE HONORABLE JENNIFER L. THURSTON
                                                      UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          1
      FORTH IN GOVERNMENT’S APPLICATION
